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                                                                Original


Approved: ____________________________________
          THANE REHN/CECILIA VOGEL
          Assistant United States Attorneys

Before:   THE HONORABLE KATHARINE H. PARKER
          United States Magistrate Judge
          Southern District of New York
- - - - - - - - - - - - - - - - - - X
                                    :             20 MAG 9801
                                    :
UNITED STATES OF AMERICA                       SEALED COMPLAINT
                                    :
                                    :
        - v. -
                                    :          Violations of
                                    :          18 U.S.C. §§ 371, 1344,
DJONIBEK RAHMANKULOV,
                                    :          and 1960
                                    :
                   Defendant.
                                    :          COUNTY OF OFFENSE:
                                    :          NEW YORK
- - - - - - - - - - - - - - - - - - X


SOUTHERN DISTRICT OF NEW YORK, ss.:

          ALI AMHAZ-STRICKLAND, being duly sworn, deposes and
says that he is a Special Agent with Federal Bureau of
Investigation (“FBI”), and charges as follows:

                                COUNT ONE

               (Conspiracy to Operate an Unlicensed
                   Money Transmitting Business)

     1.   From at least in or about June 2020, up to and
including September 2020, in the Southern District of New York
and elsewhere, DJONIBEK RAHMANKULOV, the defendant, and others
known and unknown, knowingly and willfully did combine,
conspire, confederate, and agree together and with each other to
commit an offense against the United States, to wit, to operate
an unlicensed money transmitting business, in violation of Title
18, United States Code, Section 1960.

     2.   It was a part and an object of the conspiracy that
DJONIBEK RAHMANKULOV, the defendant, and others known and
unknown, would and did knowingly conduct, control, manage,
supervise, direct, and own all and part of an unlicensed money
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transmitting business affecting interstate and foreign commerce,
which (a) would and did operate without an appropriate money
transmitting license in a State where such operation was
punishable as a misdemeanor and a felony under State law, and
(b) would and did fail to comply with the money transmitting
business registration requirements under Section 5330 of Title
31, United States Code, and regulations prescribed under such
section, to wit, RAHMANKULOV used companies he owned and
controlled in Brooklyn, New York, to transmit money from,
through, and out of the United States, including money
transmitted through the Southern District of New York, without
an appropriate state license, which conduct was punishable as a
misdemeanor under New York law, and without meeting the Federal
registration requirements set forth for money transmitting
businesses.

                               Overt Acts

     3.   In furtherance of said conspiracy and to effect the
illegal object thereof, the following overt acts, among others,
were committed in the Southern District of New York:

          a.   On or about July 22, 2020, DJONIBEK RAHMANKULOV,
the defendant, signed a check for $44,125, payable to a bank
account held in Manhattan, New York.

          b.   On or about July 27, 2020, DJONIBEK RAHMANKULOV,
the defendant, deposited approximately six checks payable to a
bank account held in Manhattan, New York, totaling approximately
$149,287 in deposits.

          c.   On or about July 29, 2020, DJONIBEK RAHMANKULOV,
the defendant, deposited approximately nine checks payable to a
bank account held in Manhattan, New York, totaling approximately
$198,765 in deposits.

           (Title 18, United States Code, Section 371.)

                                COUNT TWO
                              (Bank Fraud)

     4.   From at least in or about June 2020 up to and
including the present, in the Southern District of New York and
elsewhere, DJONIBEK RAHMANKULOV, the defendant, did knowingly
execute and attempt to execute a scheme and artifice to obtain
moneys, funds, credits, assets, securities, and other property
owned by, and under the custody and control of, a financial
institution, the deposits of which were then insured by the
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Federal Deposit Insurance Corporation, by means of false and
fraudulent pretenses, representations, and promises, to wit,
RAHMANKULOV knowingly made, and aided and abetted the making of,
material misrepresentations to a federally insured financial
institution and others in order to deceive that financial
institution into allowing a company operated by RAHMANKULOV to
operate and process financial transactions through the
institution, and in doing so, obtained and attempted to obtain
moneys, funds, and property owned by and under the custody and
control of such financial institutions.

      (Title 18, United States Code, Sections 1344 and 2.)

     The bases for my knowledge and for the foregoing charges
are, in part, as follows:

     5.   I am a Special Agent with FBI and I have been
personally involved in the investigation of this matter. This
affidavit is based upon my investigation, my conversations with
witnesses and other law enforcement agents, and my review of
bank records and websites. Because this affidavit is being
submitted for the limited purpose of establishing probable
cause, it does not include all the facts that I have learned
during the course of my investigation. Where the contents of
documents and the actions, statements and conversations of
others are reported herein, they are reported in substance and
in part, except where otherwise indicated.

                                Overview

     6.   From my participation in this investigation, I have
learned about a network of companies (the “Network”) operating
in and around the New York City area as unlicensed money
transmitting businesses for the purpose of moving funds
primarily from within the United States to companies and
purported companies located outside of the United States. In
the course of the investigation, I and other law enforcement
agents have reviewed bank and other financial records, debriefed
witnesses, conducted surveillance, and reviewed electronic
evidence, and have learned that some of the Network companies
have legitimate business operations in addition to being used as
unlicensed money transmitting businesses, while other Network
companies have no apparent legitimate business activity and
exist solely as unlicensed money transmitting businesses. I
have learned that, to perpetrate the scheme, the individuals who
operate Network companies have made false statements to banks
for the purpose of inducing the banks to open bank accounts in


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the name of the companies and execute transactions for the
companies.

                     The Company-1 Bank Account

     7.   From my review of records provided by a bank (“Bank-
1”), as well as my conversation with a representative of Bank-1,
I have learned the following, among other things:

          a.   DJONIBEK RAHMANKULOV, the defendant, opened a
corporate bank account for a company (“Company-1”) on or about
June 22, 2020 (the “Company-1 Bank Account”). RAHMANKULOV
identified himself to Bank-1 as the president and owner of
Company-1 and is the only signatory on the Company-1 Bank
Account.

          b.   At the time RAHMANKULOV opened the Company-1 Bank
Account, RAHMANKULOV informed the bank that Company-1 was a
wholesale stationery and office supplies business, and provided
an address in Rego Park, New York, as the business address for
Company-1 (the “Company-1 Address”).

          c.   Based on my review of account records for the
Company-1 Bank Account, and on my training and experience, the
transaction activity in the Company-1 Bank Account is
inconsistent with the use of the Company-1 Bank Account for a
wholesale stationery and office supplies business. For
instance, there are no apparent payroll expenses, working
capital expenses (rent, utilities, etc.) or other expenses,
including payments for stationery or office supplies, that would
tend to indicate legitimate business activity.

          d.   Rather, the transaction activity in the Company-1
Bank Account indicates that the account is used for money
transmitting activities. Specifically, the Company-1 Bank
Account typically receives several deposits and makes several
payments by check for a similar amount as the deposits. For
instance:

             i.     Between June 22 and 25, 2020, the Company-1
Bank Account received five deposits from three different
pharmacies for a total of approximately $356,812. On June 25,
2020, the Company-1 Bank Account made four check payments for a
total of approximately $325,500. Three of the checks were made
payable to purported construction companies, and one of the
checks was made payable to a payroll provider that exclusively
services the construction industry (the “Construction Payroll
Provider”).

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            ii.     Between June 26 and 29, 2020, the Company-1
Bank Account received five deposits from four different
pharmacies for a total of $484,986. Between June 29 and July 2,
2020, the Company-1 Bank Account made nine check payments for a
total of $453,455. Among others, the checks were made payable
to: a purported construction company, the Construction Payroll
Provider; a cellphone business; a transportation company
registered at the Company-1 Address; and a consulting company
registered at the Company-1 Address (“Company-2”). Based on
financial records, law enforcement has identified Company-2 as a
Network company engaged in unlicensed money transmitting.

     8.   Based on incorporation and bank records, I have
learned that DJONIBEK RAHMANKULOV, the defendant, incorporated
Company-2 using the Company-1 Address. RAHMANKULOV later
assigned the ownership interest to Company-2 to another
individual (“CC-1”), although the corporate address remained the
Company-1 Address. CC-1 opened a bank account for Company-2 at
another bank (“Bank-2”).

     9.   Based on information provided by the New York
Department of Labor, including my conversations with a
representative of the NY Department of Labor, I have learned
that, although registration is required, Company-1 and Company-2
have not registered with the New York Department of Labor.

     10. I and other law enforcement agents have conducted
surveillance at the Company-1 Address, which is an apartment in
a building located in Brooklyn, New York. There were no signs
of any business activity taking place at the location. Based on
New York Department of Motor Vehicle records, I have learned
that RAHMANKULOV has a vehicle registered to the Company-1
Address (the “Rahmankulov Vehicle”). While conducting
surveillance, I and other law enforcement agents observed the
Rahmankulov Vehicle parked in the vicinity of the Company-1
Address.

                     The Undercover Transactions

      11. In the course of the investigation, I and other law
enforcement officers have worked with an individual who has
historically conducted business with companies in the Network
(“CS-1”). CS-1 owns and operates a company in Manhattan, New
York, has been arrested and criminally charged in the Southern
District of New York with receipt of stolen property, and is
cooperating with law enforcement in the hope of obtaining
leniency. To date, information received from CS-1 has proven


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reliable and has at times been corroborated by independent
sources of evidence.

     12. Following CS-1’s arrest, at the direction of law
enforcement, CS-1 continued to maintain contact with individuals
involved in the Network, including an individual not charged in
this Complaint (“CC-2”), and recorded certain conversations and
messages that CS-1 had with CC-2. In the course of my
involvement with CS-1’s cooperation, I have learned, among other
things, the following:

          a.   In or around June 2020, CC-2 began sending
Whatsapp text messages to CS-1 in which CC-2 inquired, in sum
and substance, whether CS-1 could use a bank account in the name
of the CS-1 Company held at Bank-2 in Manhattan, New York (the
“CS-1 Company Bank Account”) to receive money from other
companies and transmit that money to companies located outside
the United States. Acting at the direction of law enforcement,
CS-1 agreed to conduct such money transmitting transactions at
CC-2’s direction. CS-1 and CC-2 further discussed, in sum and
substance, that the payments into the CS-1 Company Bank Account
should indicate that they are connected to electronics sales,
because the CS-1 Company was an electronics wholesale company.

          b.   On or about July 22, 2020, four checks were
deposited into the CS-1 Company Bank Account, totaling
approximately $150,915. The four checks included: one check
from Company-1 for $44,125; two checks from Company-2 totaling
$68,900; and one check from a third company (“Company-3”) in the
amount of $37,890 (collectively, the “July 22 checks”). The CS-1
Company did not provide any goods or services to Company-1,
Company-2, or Company-3 in connection with these payments.

          c.   On or about July 24, 2020, acting at the
direction of law enforcement, CS-1 transferred the funds
received from the July 22 checks from the CS-1 Bank Account to a
bank account in the name of a Chinese company (the “Chinese
Company”), which was provided to CS-1 by CC-2 via WhatsApp. The
Chinese Company did not provide any goods or services to the CS-
1 Company in connection with these transfers; the sole purpose
of the transfers was to transmit money received from Company-1,
Company-2, and Company-3 to the Chinese Company.

          d.   On or about July 27, 2020, eight checks were
deposited into the CS-1 Bank Account, totaling approximately
$270,933. The eight checks included: five checks from Company-1
totaling $144,287; two checks from a fourth company (“Company-
4”) totaling $121,706; and one check from a fifth company

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(“Company-5”) in the amount of $5,000 (collectively, the “July
27 Checks”). The CS-1 Company did not provide any goods or
services to Company-1, Company-4, or Company-5 in connection
with these payments. Nevertheless, four of the checks from
Company-1 falsely stated that the purpose of the payment was for
“Invoice” in the memo line.

          e.   On or about July 28, 2020, acting at the
direction of law enforcement, CS-1 transferred the funds
received from the July 27 checks from the CS-1 Bank Account to a
bank account in the name of the Chinese company, which was
provided to CS-1 by CC-2 via WhatsApp. The Chinese Company did
not provide any goods or services to the CS-1 Company in
connection with these transfers; the sole purpose of the
transfers was to transmit money received from the Company-1,
Company-4, and Company-5 to the Chinese Company.

          f.   On or about July 29, 2020, twelve checks were
deposited into the CS-1 Bank Account, totaling approximately
$281,949. The twelve checks included: one check from Company-1
for $59,240; one check from Company-2 for $51,225; six checks
from another company (“Company-6”) for a total of $63,300; three
checks from another company (“Company-7”) for a total of
$83,184; and one check from another company (“Company-8”) for
$25,000 (collectively, the “July 29 Checks”). The CS-1 Company
did not provide any goods or services to Company-1, Company-6,
Company-7, or Company-8 in connection with these payments.
Nevertheless, the checks from Company-1 and Company-2 falsely
stated that the purpose of the payment was for “Electronic” in
the memo line.

          g.   Acting under the supervision of law enforcement,
CS-1 did not transfer the funds received from the July 29 Checks
as directed by CC-2.

     13. Based on my review of surveillance images provided by
Bank-2 and records provided by Bank-1, I have learned the
following, among other things:

       a. An individual who appeared to be DJONIBEK RAHMANKULOV,
the defendant, accompanied another individual (“CC-3”) to
deposit the July 22 Checks into the CS-1 Company Bank Account
using a drive-thru ATM. CC-3 was the driver of the vehicle and
deposited the July 22 Checks, and the individual who appeared to
be RAHMANKULOV was the passenger. The vehicle driven by CC-3 to
the drive-thru ATM on July 22, 2020, was the same color, make,
and model as the Rahmankulov Vehicle.


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       b. RAHMANKULOV deposited six of the July 27 Checks into
the CS-1 Company Bank Account using a drive-thru ATM.
Specifically, RAHMANKULOV deposited the five checks from
Company-1 and the one check from Company-5. RAHMANKULOV drove
the Rahmankulov Vehicle through the drive-thru ATM on July 27,
2020.

       c. RAHMANKULOV deposited nine of the July 29 Checks into
the CS-1 Company Bank Account using a drive-thru ATM.
Specifically, RAHMANKULOV deposited the checks from Company-1,
Company-2, Company-6, and Company-8. RAHMANKULOV drove the
Rahmankulov Vehicle through the drive-thru ATM on July 29, 2020.

        d. All of the checks from Company-1 deposited into the
CS-1 Company Bank Account on July 22, 27, and 29 were signed in
RAHMANKULOV’s name, and the signature on those checks is
consistent with RAHMANKULOV’s signature on the signature card on
file for the Company-1 Bank Account at Bank-1.

       e. On July 27, 2020, the Company-1 Bank Account received
seven deposits, six of which came from Company-6, a pharmacy,
for a total of $159,035.88. As described above in paragraph
12(b), it was that same day that RAHMANKULOV deposited five
checks from the Company-1 Bank Account into the CS-1 Company
Bank Account, for a total of $144,287.

        f. On July 29, 2020, the Company-1 Bank Account received
two checks from Company-6 and one check from Company-8 for a
total of $46,700. As described above in paragraph 12(c), it was
that same day that RAHMANKULOV deposited a $59,240 check from
the Company-1 Bank Account into to the CS-1 Company Bank
Account.




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          WHEREFORE, deponent respectfully requests that a
warrant be issued for the arrest of DJONIBEK RAHMANKULOV, the
defendant, and that he be imprisoned or bailed, as the case may
be.
                                      /s/ Ali Amhaz-Strickland
                               ________________________________
                               Special Agent Ali Amhaz-Strickland
                               Federal Bureau of Investigation


Sworn to before me this
  14
_____ day of September, 2020 By reliable electronic means pursuant to Fed. R. Crim.
                             P. 4.1

__________________________________
THE HONORABLE KATHARINE H. PARKER
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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